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                                                                       FILED
                                                                         MAR 10 2017
                                                                      Clerk, U.S. District Court
                                                                         District Of Montana
                                                                                Helena


                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF MONTANA

                                BUTTE DIVISION

 GINA JAEGER, individually, AND
 AS PERSONAL REPRESENTATIVE
 OF THE ESTATE OF HER SISTER                       No. CV 16-30-BU-SEH
 CHARLENE HILL,

                           Plaintiff,              ORDER

 vs.

 PEAK MEDICAL MONTANA
 OPERATIONS, LLC,

                           Defendant.

                                    Background

       Plaintiff Gina Jaeger, sister of Charlene Hill ("Hill"), and Personal

Representative of the Estate of Charlene Hill, filed this action in state court

alleging claims relating to Hill's inpatient care provided from August 13, 2015, to

August 25, 2015, at a nursing facility known as the Butte Center in Butte,
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Montana. 1 The case was removed to this Court on June 10, 2016. 2 An amended

complaint was filed on August 2, 2016. 3

      The Court, following removal, denied Plaintiffs motion to remand and

dismissed for fraudulent joinder and without prejudice three individual defendants

named in the amended complaint. 4 The Court also granted Genesis Healthcare,

Inc. 's motion to dismiss, leaving Peak Medical Montana Operations, LLC

("Peak") as the sole remaining defendant. 5 The claim against Peak asserts

vicarious liability based on the purported negligence of the same three previously

dismissed individual Montana citizen employees of Peak alleged in the amended

complaint to have caused Hill's personal injury and subsequent death. 6

                            Motion to Compel Arbitration

      On February 14, 2017, Peak moved "for an order compelling the parties to

submit to arbitration and staying this action until arbitration has been completed." 7


      1
          Doc. 1-1.
      2
          Doc. 1.
      3
          Doc. 28.
      4
          Doc. 78.
      5
          Doc. 84.
      6
          Doc. 28 at 4-6.
      7
          Doc. 91 at 2.

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The motion is grounded in a Voluntary Binding Arbitration Agreement (the

"Agreement") entered into between Hill and Peak on August 14, 2015. 8 Plaintiff

opposes enforcement of the Agreement with the argument that "[w]hen Charlene

Hill, a person of limited education, with a severe anxiety disorder signed this

agreement under the influence of narcotics, the Arbitration agreement as to her

situation is clearly unconscionable." 9

                                   Federal Arbitration Act

       The Federal Arbitration Act 10 ("FAA") was enacted "to 'ensur[e] that

private arbitration agreements are enforced according to their terms. "' 11 It

"provide[ s] for the enforcement of arbitration agreements within the full reach of

the Commerce Clause." 12

       Section 2 of the FAA, "the primary substantive provision of the Act," 13 is

recognized "as reflecting both a 'liberal federal policy favoring arbitration,' and



       8
            Doc. 94 at 3.
       9
            Doc. 95 at 4.

       JO   9 U.S.C. §§ 1-16 (2012).
       11
          AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 344 (2011) (quoting Volt Info. Scis.,
Inc. v. Board of Trustees ofLeland Stanford Junior Univ., 489 U.S. 468, 478 (1989)).
       12
            Perry v. Thomas, 482 U.S. 483, 490 (1987).
       13
            Moses H Cone Mem'l Hosp. v. Mercury Constr. Corp., 460 U.S. l, 24 (1983).

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the 'fundamental principle that arbitration is a matter of contract[.]"' 14

                                              Saving Clause

       "As federal substantive law, the FAA preempts contrary state law." 15

However, the final phrase of§ 2 of the FAA, termed the saving clause, "permits

agreements to arbitrate to be invalidated by 'generally applicable contract

defenses, such as fraud, duress, or unconscionability.'" 16 The saving clause

however is not to be construed with "an intent to preserve state-law rules that

stand as an obstacle to the accomplishment of the FAA's objectives." 17

       Determination of whether a contract is unconscionable under Montana law

"is a two-step inquiry: ( 1) whether the provision fits the doctrine of a contract of

adhesion such that the weaker bargaining party had no meaningful choice

regarding its acceptance; and (2) whether the contractual terms are unreasonably

favorable to the drafter, usually the party with superior bargaining power." 18


       14
        Concepcion, 563 U.S. at 339 (quoting Moses H Cone Mem 'l Hosp., 460 U.S. at 24;
Rent-A-Center, West, Inc. v. Jackson, 561 U.S. 63, 67 (2010)).
       15
            Mortensen v. Bresnan Commc 'ns, LLC, 722 F.3d 1151, 1158 (9th Cir. 2013) (citations
omitted).
       16
         Concepcion, 563 U.S. at 339 (quoting Doctor's Assocs., Inc. v. Casarotto, 517 U.S.
681, 687 (1996)).
       17
            Id. at 343 (citations omitted).
       18
          Highway Specialties, Inc. v. State, Dep 't of Transp., 215 P .3d 667, 670 (Mont. 2009)
(citing Arrowhead School Dist. No. 75 v. Klyap, 79 P.3d 250, 263 (Mont. 2003)).

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"Whether or not the clause is unreasonably favorable to the drafter in tum involves

an inquiry into whether the clause is within the reasonable expectations of the

weaker party or is unduly oppressive to the weaker party." 19 Factors to be

considered in determining whether a provision is outside a party's reasonable

expectations include:

                    [1] [W]hether the waiver clause was conspicuous and
                    explained the consequences of the provision (e.g. waiver
                    of the right to trial by jury and right of access to the
                    courts); [2] whether a disparity existed in the bargaining
                    power of the contracting parties; [3] whether a difference
                    in business experience and sophistication of the parties
                    existed; [4] whether the party charged with the waiver
                    was represented by counsel at the time the agreement
                    was executed; [5] whether economic, social or practical
                    duress compelled a party to execute the contract; [6]
                    whether the parties actually signed the agreement or
                    separately initialed the waiver provision; and [7] whether
                    the waiver clause was ambiguous or misleading. 20

                                           The Agreement

          Plaintiff fails to demonstrate the Agreement is unconscionable under

Montana law. The FAA's clear mandate that private arbitration agreements are to

be enforced according to their terms governs.


          19
               Klyap, 79 P.3d at 263 (citing !wen v. US. West Direct, 977 P.2d 989, 994-95 (Mont.
1999)).

          °Kelker v. Geneva-Roth Ventures, Inc., 303 P.3d 777, 781 (Mont. 2013) (citing Kortum-
          2

Managhan v. Herbergers NBGL, 204 P.3d 693, 699 (Mont. 2009)).

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      The Agreement is not a contract of adhesion. It unambiguously states:

"THIS AGREEMENT IS VOLUNTARY AND IS NOT A PRECONDITION

TO RECEIVING SERVICES AT THE CENTER." 21

      The Kelker factors support the conclusion that arbitration was within Hill's

reasonable expectations at the time of contracting. The Agreement is a standalone

document. It states in multiple places that it is voluntary. 22 Cancellation in

writing by Hill within thirty days of signing was permitted. 23 The waiver of trial

by judge or jury is stated in the Agreement three separate times, twice in

capitalized type. 24 Finally, the signature page restates certain key provisions in

capitalized type. It was signed by Charlene Hill and Jamie LeProwse on behalf of

Peak. 25 A plainly-worded cover page providing an overview of arbitration is

attached to the Agreement. 26

      The Agreement's applicability to the issues and parties in this matter is not

in dispute. No viable contract defense to arbitration has been established.


      21
           Doc. 92-1 at 5; see also Doc. 92-1 at 1, 2.
      22
           Doc. 92-1 at 2, 5.
      23
           Doc. 92-1 at 2.
      24
           Doc. 92-1 at 2, 5.
      25
           Doc. 92-1 at 5.
      26
           Doc. 92-1 at 1.

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Arbitration is directed under 9 U.S.C. § 4 to proceed.

       ORDERED:

       1.        Peak's Motion to Compel Arbitration27 is GRANTED.

       2.        All proceedings in this case are stayed under 9 U.S.C. § 3 pending

arbitration.

       3.        The preliminary pretrial conference set for March 15, 201 7, is

VACATED to be reset, if appropriate, by further order of court.

       4.        Beginning within three months of the date of this Order, and every

three months thereafter, the parties shall file a joint status report in this case to

update the Court as to the progress of arbitration.

      DATED this         /~ay of March, 2017.

                                                  ~J!f~eth\
                                                  United States District Judge




      27
            Doc. 91.

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